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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


  Civil Action Number: 19-cv-3417

  REBECCA BRIGHAM,

                 Plaintiff,

  v.

  FRONTIER AIRLINES, INC.,
  a Colorado corporation,

                 Defendant.



                              COMPLAINT AND JURY DEMAND



         Plaintiff REBECCA BRIGHAM (hereinafter “Plaintiff” or “Ms. Brigham”), by and

  through the undersigned counsel, bring this Complaint pursuant to the Americans with Disabilities

  Act of 1990, as amended, 42 U.S.C. § 12101, et seq. (the “ADA”), demands a jury trial, and alleges

  as follows:

                                         INTRODUCTION

         1.      In May 2007, Ms. Brigham became employed with Defendant Frontier Airlines,

  Inc. (hereinafter “Frontier”) as a flight attendant. Ms. Brigham found the work interesting and she

  excelled in her position, accumulating accolades from Defendant for her superior performance.

         2.      For Ms. Brigham her employment with Frontier was the realization of a long-sought

  career path. Her position as a flight attendant became part of her identity and she was proud to

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  discuss her career with friends and family. The compensation had the potential to allow for a

  middle-class life, which would have allowed Ms. Brigham to take care of her family and other

  financial obligations. Therefore, Ms. Brigham valued her relationship with Frontier, and was ready

  to excel on every shift.

         3.      Unfortunately, as time went on, Ms. Brigham was occasionally tempted by alcohol

  as a means of relieving stress, anxiety, and the serious grief brought on by the death of her first

  child, born prematurely on May 22, 2009. Her occasional indulgences became more frequent until

  it became clear to Ms. Brigham that she had developed alcoholism and was dependent upon alcohol

  for relieving feelings of grief. While Ms. Brigham’s disability, alcoholism, never interfered with

  the performance of her job duties, Ms. Brigham still felt the need to face the disorder head on.

         4.      As such, and toward the end of 2014, she voluntarily self-disclosed her disability

  to Frontier and checked into an inpatient rehab center. While Ms. Brigham’s decision to seek

  treatment for her alcoholism has been a tremendous success, her experience with Frontier, after

  self-disclosing, became negative.

         5.      Ms. Brigham repeatedly requested reasonable accommodations from Frontier so

  that she could successfully perform the essential functions of her job, only to be told that no

  accommodations could be granted. At one point, Frontier blamed its inability to provide Ms.

  Brigham with an accommodation on an assertion that the requested accommodation (alteration of

  her work schedule to avoid overnights and long layovers) would violate terms of its collective

  bargaining agreement with the flight attendants’ union despite support for the proposed

  accommodations from the Vice President of the union itself.

         6.      It became clear that Frontier wanted to terminate Ms. Brigham based on her

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  disability and was not at all interested in helping her to be successful, let alone comply with its

  obligations under the ADA. The more Frontier refused to grant Ms. Brigham any type of

  reasonable accommodation, the more days she missed from work as she attempted to alter her

  work schedule to avoid long layovers or overnight flights. Of course, Frontier would then criticize

  Ms. Brigham for the absences from work caused by its own refusal to grant an accommodation.

         7.      Finally, in about mid-November 2015, just over 8.5 years after being hired and

  about 1 year after voluntarily disclosing her disability and proactively seeking treatment, Ms.

  Brigham was terminated by Frontier. Thus, in the short span of a year, Frontier violated the

  requirements of the ADA by: failing to accommodate; failing to engage in the interactive process;

  retaliating against Ms. Brigham for engaging in protected activity; and engaging in unlawful

  disability based discrimination.

         8.      Frontier’s termination of Ms. Brigham has produced severe consequences including

  financial and emotional harm, exacerbated by the fact that Ms. Brigham has had trouble finding a

  position even remotely equivalent to her flight attendant position. When Frontier terminated Ms.

  Brigham from her position, Defendant took away the means for Ms. Brigham to secure a stable

  and healthy life for herself and her family.

         9.      Therefore, and through this lawsuit, Ms. Brigham seeks to be paid all available

  economic, compensatory, and punitive damages for which she has suffered, and in any event, in

  an amount not less than $1,000,000. Ms. Brigham stepped up and chose to confront her disability

  directly, and in return, Frontier punished her and took away her livelihood. It’s time that Frontier

  be ordered to pay the cost of its unlawful behavior.



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                             JURISDICTION, VENUE AND PARTIES

           10.   This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

  1331 and 42 U.S.C. § 12101, et seq. as this Complaint raises a federal question and a private cause

  of action as authorized under the ADA.

           11.   This Court has personal jurisdiction over Defendant as Defendant is engaged in

  continuous and systematic business activities within this State. Defendant is a domestic entity

  registered to conduct business in the State of Colorado, or directly conducts business in Colorado

  whether through a subsidiary company or otherwise, and is in fact engaged in continuous and

  systematic business activities within this State. As such, Defendant is subject to the general or

  specific personal jurisdiction of this Court.

           12.   Venue is proper in the District of Colorado pursuant to 28 U.S.C. §§ 1391(a), (b)

  and (c) because a substantial part of the events or omissions giving rising to Plaintiff’s claims

  occurred in the District of Colorado and Defendant is subject to the personal jurisdiction of the

  Court.

           13.   Plaintiff Rebecca Brigham is currently a resident of the State of Michigan and was

  employed by Defendant, and residing in Colorado, during the relevant time period.

           14.   Defendant Frontier Airlines, Inc. is a corporation duly organized and existing under

  the laws of the State of Colorado. Defendant Frontier Airlines, Inc. may be served through its

  registered agent at: Corporation Service Company, 1900 W. Littleton Boulevard, Littleton, CO

  80120.




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    MS. BRIGHAM’S CASE BEFORE THE UNITED STATES EQUAL EMPLOYMENT
                   OPPORTUNITY COMMISSION (“EEOC”)

           15.      On May 10, 2016, Ms. Brigham filed a Charge of Discrimination with the Colorado

  Civil Rights Division, her charge later being transferred to the United States Equal Employment

  Opportunity Commission. Exhibit 1, Charge of Discrimination dated May 10, 2016.

           16.      In the Charge, and through the EEOC’s investigative process, Ms. Brigham

  outlined in great detail the events leading up to the filing of her Charge, including:

                 a. Requesting a reasonable accommodation on or about June 4, 2015 in the form of a

                    schedule change allowing Ms. Brigham to avoid long layovers as they may

                    aggravate her disability and violate her treatment plan, which was denied;

                 b. On or about October 9, 2015, Ms. Brigham again requested a reasonable

                    accommodation in the form of an altered schedule but was denied;

                 c. On or about November 3, 2015, Frontier summoned Ms. Brigham to an

                    “investigatory meeting,” during which she again requested an accommodation,

                    which was supported by the union, but was again denied; and

                 d. On or about November 14, 2015, Ms. Brigham was unlawfully terminated by

                    Defendant.

  Ex. 1.

           17.      Despite Frontier’s knowledge of Plaintiff’s disability, Defendant’s knowledge

  coming from Ms. Brigham’s voluntary disclosure, and Ms. Brigham’s repeated requests for a

  reasonable accommodation, Defendant never actually engaged in the interactive process as

  required under the ADA.


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           18.   Ms. Brigham proposed at least two reasonable accommodations: (1) a change to

  her schedule to avoid long layovers and overnights as these situations exacerbate her disability and

  violated her alcohol treatment plan; or (2) transfer to a position within Defendant’s home office

  on a temporary basis. Frontier never entertained these propositions in good faith, nor did Frontier

  propose its own possible reasonable accommodations.

           19.   Ms. Brigham was placed into an untenable position as Frontier’s rules regarding

  the voluntary disclosure of alcoholism required that Plaintiff follow every aspect of her alcohol

  treatment plan in order to keep her job, yet Frontier was unwilling to entertain reasonable

  accommodations to accomplish the same.

           20.   This situation was especially troubling because Adrian Prince, the Vice President

  of Plaintiff’s union, attended a meeting and told Ms. Brigham’s supervisors that the union had no

  problem with Plaintiff’s proposed changes in schedule as a reasonable accommodation, i.e., the

  requested accommodation violated no terms of Frontier’s collective bargaining agreement with the

  union.

           21.   Frontier’s refusal to engage in the interactive process in good faith and its refusal

  to grant a simple and logical requested reasonable accommodation belies the only factor

  motivating its decision-making: unlawful discriminatory animus.

                                THE EEOC’S DETERMINATION

           22.   On June 4, 2019, the EEOC issued a Determination in Ms. Brigham’s favor,

  finding: “Based upon a review of the evidence gathered from Respondent and Charging Party, I

  conclude that the Respondent violated the ADA when Charging Party was denied a reasonable

  accommodation and discharged.” Exhibit 2, EEOC Determination dated June 4, 2019.

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          23.     Despite a robust investigatory process that resulted in the EEOC issuing a

  Determination in Plaintiff’s favor, Defendant was still unwilling to correct it prior unlawful

  behavior, and as a result, Plaintiff filed the instant lawsuit.

                                             COUNT I
                          Failure to Accommodate in Violation of the ADA
                                      42 U.S.C. § 12101, et seq.

          24.     Plaintiffs incorporates all allegations contained herein as if fully stated in this

  Paragraph.

          25.     Defendant is an employer covered by the requirements of the ADA.

          26.     Plaintiff was Defendant’s employee during the relevant time period and entitled to

  the benefits and protections of the ADA.

          27.     The ADA requires that employers reasonably accommodate the known disabilities

  of their employees; engage in a good faith interactive process with employees to determine the

  nature of possible reasonable accommodations; refrain from retaliating against employees that

  engage in protected activity under the ADA, including but not limited to requesting a reasonable

  accommodation; and refrain from discriminating against employees based on their disability.

          28.     Here, and as described in detail, Plaintiff’s many requests for a reasonable

  accommodation were denied; Frontier refused to engage in the interactive process in good faith;

  Plaintiff was retaliated against for having the audacity to voluntarily disclose her disability and

  seek an accommodation; and ultimately, Plaintiff was terminated unlawfully based on her

  disability.




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          29.     Plaintiff has suffered damages as a result of Defendant’s various violations of the

  ADA and seeks payment for all economic damages (including back and frontpay), compensatory

  and punitive damages, attorney’s fees, costs, and interest at the highest allowable rate under law.

                                             COUNT II
                Failure to Engage in the Interactive Process in Violation of the ADA
                                      42 U.S.C. § 12101, et seq.

          30.     Plaintiffs incorporates all allegations contained herein as if fully stated in this

  Paragraph.

          31.     Defendant is an employer covered by the requirements of the ADA.

          32.     Plaintiffs was Defendant’s employee during the relevant time period and entitled to

  the benefits and protections of the ADA.

          33.     The ADA requires that employers reasonably accommodate the known disabilities

  of their employees; engage in a good faith interactive process with employees to determine the

  nature of possible reasonable accommodations; refrain from retaliating against employees that

  engage in protected activity under the ADA, including but not limited to requesting a reasonable

  accommodation; and refrain from discriminating against employees based on their disability.

          34.     Here, and as described in detail, Plaintiff’s many requests for a reasonable

  accommodation were denied; Frontier refused to engage in the interactive process in good faith;

  Plaintiff was retaliated against for having the audacity to voluntarily disclose her disability and

  seek an accommodation; and ultimately, Plaintiff was terminated unlawfully based on her

  disability.




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          35.    Plaintiff has suffered damages as a result of Defendant’s various violations of the

  ADA and seeks payment for all economic damages (including back and frontpay), compensatory

  and punitive damages, attorney’s fees, costs, and interest at the highest allowable rate under law.

                                            COUNT III
                                Retaliation in Violation of the ADA
                                     42 U.S.C. § 12101, et seq.

          36.    Plaintiffs incorporates all allegations contained herein as if fully stated in this

  Paragraph.

          37.    Defendant is an employer covered by the requirements of the ADA.

          38.    Plaintiffs was Defendant’s employee during the relevant time period and entitled to

  the benefits and protections of the ADA.

          39.    The ADA requires that employers reasonably accommodate the known disabilities

  of their employees; engage in a good faith interactive process with employees to determine the

  nature of possible reasonable accommodations; refrain from retaliating against employees that

  engage in protected activity under the ADA, including but not limited to requesting a reasonable

  accommodation; and refrain from discriminating against employees based on their disability.

          40.    Here, and as described in detail, Plaintiff’s many requests for a reasonable

  accommodation were denied; Frontier refused to engage in the interactive process in good faith;

  Plaintiff was retaliated against for having the audacity to voluntarily disclose her disability and

  seek an accommodation; and ultimately, Plaintiff was terminated unlawfully based on her

  disability.




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           41.    Plaintiff has suffered damages as a result of Defendant’s various violations of the

   ADA and seeks payment for all economic damages (including back and frontpay), compensatory

   and punitive damages, attorney’s fees, costs, and interest at the highest allowable rate under law.

                                            COUNT IV
                               Discrimination in Violation of the ADA
                                      42 U.S.C. § 12101, et seq.

           42.    Plaintiffs incorporates all allegations contained herein as if fully stated in this

   Paragraph.

           43.    Defendant is an employer covered by the requirements of the ADA.

           44.    Plaintiffs was Defendant’s employee during the relevant time period and entitled to

   the benefits and protections of the ADA.

           45.    The ADA requires that employers reasonably accommodate the known disabilities

   of their employees; engage in a good faith interactive process with employees to determine the

   nature of possible reasonable accommodations; refrain from retaliating against employees that

   engage in protected activity under the ADA, including but not limited to requesting a reasonable

   accommodation; and refrain from discriminating against employees based on their disability.

           46.    Here, and as described in detail, Plaintiff’s many requests for a reasonable

   accommodation were denied; Frontier refused to engage in the interactive process in good faith;

   Plaintiff was retaliated against for having the audacity to voluntarily disclose her disability and

   seek an accommodation; and ultimately, Plaintiff was terminated unlawfully based on her

   disability.




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          47.       Plaintiff has suffered damages as a result of Defendant’s various violations of the

   ADA and seeks payment for all economic damages (including back and frontpay), compensatory

   and punitive damages, attorney’s fees, costs, and interest at the highest allowable rate under law.

                                         PRAYER FOR RELIEF

          WHEREFORE, Plaintiff respectfully prays for entry of judgment in her favor and against

   Defendant as follows:

          1.        Plaintiff requests payment of all economic damages allowable under law, including

   but not limited to back and frontpay, in an amount not less than $400,000;

          2.        Plaintiff requests payment of allowable compensatory damages in an amount not

   less than $300,000;

          3.        Plaintiff requests payment of all allowable punitive damages in an amount not less

   than $300,000;

          4.        Plaintiff requests payment of all attorney’s fees and costs;

          5.        Plaintiff requests pre and post-judgment interest at the highest rate allowable under

   law; and

          6.        Plaintiff requests any and all other legal or equitable relief deemed appropriate by

   the Court.

                                   DEMAND FOR TRIAL BY JURY

          Plaintiff requests a jury trial on all claims described herein, and as may be amended.

   Respectfully submitted this 4th day of December, 2019.


                                                  /s/John R. Crone
                                                  John R. Crone
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